 Case 17-16011       Doc 187     Filed 03/22/18 Entered 03/22/18 14:28:47               Desc Main
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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                        Eastern Division

In Re:                                        )               BK No.:      17-16011
I LOAD, INC.,                                 )
                                              )               Chapter: 7
                                              )
                                                              Honorable LaShonda Hunt
                                              )
                                              )
                Debtor(s)                     )
   ORDER GRANTING TRUSTEE'S MOTION TO APPROVE COMPROMISES WITH
 RELOAD, INC., RELOAD, LLC, PRESTON CARTER, ADAM WHITE AND JAMES ELSEA

       This matter coming to be heard on the motion (the “Motion,” and all undefined terms herein
having the meanings set forth in the Motion) of Ira Bodenstein, not individually but solely as the duly
appointed chapter 7 trustee (the “Trustee”) of the bankruptcy estate of I Load, Inc., pursuant to 11
U.S.C. §§ 105 and 363 and Fed. R. Bankr. P. 9019, for entry of an order approving a settlement that he
reached with ReLoad Inc., ReLoad LLC, Preston Carter, Adam White and James Elsea (the "Settling
Defendants").

      IT IS HEREBY ORDERED:

   1. The Motion is granted as provided herein.

   2. The Settlement Agreement appended to the Motion is approved.

   3. The Settling Defendants shall, within five (5) business days of the entry of this Order, pay to the
Trustee, $14,000.00 and deliver the assignments to the Trustee, as provided in the Settlement
Agreement.

    4. The Trustee is authorized to execute all documents reasonably necessary to effectuate the
settlement described in the Settlement Agreement.

   5. The Court retains jurisdiction to enforce the terms of the Settlement Agreement and this Order.

                                                           Enter:


                                                                    Honorable LaShonda A. Hunt
Dated: March 22, 2018                                               United States Bankruptcy Judge

 Prepared by:
 Ira Bodenstein, trustee (#3126857)
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